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                   Exhibit +
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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND




STATE OF MARYLAND; et al.,


               Plaintiffs,


      v.                                              Case No.: 1:25-cv-


UNITED STATES DERPARTMENT OF
AGRICULTURE; et al.,


               Defendants.




                    DECLARATION OF ROBERT ASARO-ANGELO

     I, Robert Asaro-Angelo, declare as follows:

           1. I am a resident of the State of New Jersey. I am over the age of 18. I am currently

  the Commissioner of the New Jersey State Department of Labor and Workforce Development

  (“NJDOL”).

           2. I provide this declaration regarding certain facts based on my personal knowledge

  and review of information provided to me by NJDOL personnel.

           3. The mission of NJDOL is to protect New Jersey's workforce, strengthen its

  businesses, and promote the dignity of work. NJDOL oversees New Jersey's three wage-

  protection programs (Unemployment, Temporary Disability, and Family Leave Insurance),


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which provide cash benefits to workers who lose their jobs through no fault of their own, or

are unable to work because they are sick or injured, caring for a family member, or bonding

with a new child. The NJDOL also oversees the Division of Disability Determination Services

program, which helps individuals who are disabled and are unable to work apply for cash

benefits through the federal Social Security Program; oversees and operates the Division of

Workforce Development, which is responsible for New Jersey's workforce services, including

vocational rehabilitation services, veterans’ services, and more; and oversees the Division of

Employer Accounts, which helps employers throughout New Jersey maintain compliance with

Unemployment and Disability Insurance laws. Additionally, NJDOL enforces the New Jersey

Public Employees Occupational Safety and Health Act as an Occupational Safety and Health

Administration State Plan.

       4. As Commissioner, I have access to comprehensive reports and financial records

that detail the state of New Jersey’s labor market, including claims for unemployment benefits,

and the allocation and distribution of federal funding received by NJDOL. Additionally, my

role includes overseeing the implementation of, and compliance with, federally funded

programs within the agency, ensuring all expenditures align with federal guidelines and

regulations.

       5. The ongoing mass-layoff of federal workers is irreparably harming New Jersey in

several ways.

           Rapid Response Team Expenditures

       6. NJDOL oversees the Rapid Response Program, a coordinated, multiple-partner

strategy to provide immediate assistance to New Jerseyans subject to mass layoffs. NJDOL is

the state entity responsible for conducting outreach and providing unemployment services



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required by the federal Workforce Investment Act of 1998, as amended by the federal

Workforce Innovation and Opportunity Act of 2014.

       7. Specifically, a state rapid response program is required by both the federal

Workforce Innovation and Opportunity Act 29 U.S.C. § 3174(A)(2)(i) and N.J.S.A. 34:21-5.

       8. When a private employer with more than 100 employees contemplates a mass

layoff, terminating 50 or more employees, the federal Worker Adjustment and Retraining

Notification (WARN) Act imposes critical notice requirements. Specifically, the employer is

required to notify certain groups including State dislocated worker units, at least sixty days in

advance of the layoffs, so that rapid response activities can be undertaken to ameliorate the

negative effects of large unemployment events. 29 U.S.C. § 2101 et seq.

       9. The purpose of the Rapid Response Program is to reduce reliance on public benefit

systems such as unemployment insurance; to promote economic recovery and vitality by

developing an ongoing, comprehensive approach to identify, plan for, and respond to layoffs

and dislocations; and to prevent or minimize the impact of mass layoffs on workers, businesses,

and communities.

       10. When notified of a forthcoming mass layoff, the Rapid Response team will quickly

provide informational resources and reemployment services for workers, including but not

limited to: information and support for filing Unemployment Insurance (UI) claims,

information on the impacts of layoffs on health coverage or other benefits, information on and

referral to career services, reemployment-focused workshops and services, and occupational

training. The information is either presented virtually or on site at the discretion of the

employer.




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       11. I understand that, pursuant to 5 U.S.C. § 3502(d)(3)(A)(i), the federal Government

is similarly required to notify “the State or entity designated by the State to carry out rapid

response activities under section 134(a)(2)(A) of the Workforce Investment Act of 1998” of a

plan for a reduction-in-force (RIF) of federal employees, generally at least 60 days in advance

of any proposed RIF.

       12. My understanding is that the notice required by 5 U.S.C. § 3502(d)(3)(A) is

intended to trigger rapid response activities since it is explicitly to be given to the state entity

required to carry out rapid response activities.

       13. To the best of my knowledge, neither the NJDOL nor any other entity in the New

Jersey State Government have received notice of a federal reduction in force at any federal

agency.

       14. NJDOL’s data indicates that 388 former federal employees, both probationary and

non-probationary, have applied for unemployment benefits from January 21, 2025, to February

26, 2025. There was a material increase in the number of such claims beginning in mid-

February.

       15. During the same period in 2024, only 104 federal unemployment claims were filed

with NJDOL. In the four months preceding the Executive Order, an average of 79 federal

unemployment claims were filed each month.

       16. Due to the lack of notice of these wide-scale federal employee firings, NJDOL

will have to devote a significant amount of time to conduct broad-based outreach to try to

identify recently terminated employees, and provide relevant resources and assistance in

processing claims.




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       17. In addition, because of the lack of notice, NJDOL has been unable to plan in

advance to allocate more staff, resources, and expenditures as needed to fulfill our statutory

mission and address the influx of claims.

       18. In sum, my office needs to devote significant time, resources, and expense to simply

try to identify workers subject to federal mass layoffs and otherwise make resources available

to potentially affected individuals in new ways, all because federal agencies have failed to

provide us the legally required notice of mass layoffs.

              Unemployment Assistance Process

       19. NJDOL also manages claims for unemployment benefits by individuals formerly

employed to work in New Jersey.

       20. The Unemployment Compensation Law of New Jersey provides insurance

benefits, over an extended period of time, to persons who become unemployed through no fault

of their own. N.J. Stat. Ann. §§ 43:21-1–24.30.

       21. As a general matter, the federal Government is required to reimburse New Jersey

for unemployment benefits provided to former federal employees. Specifically, the Division

of Employment Security is party to an agreement with the United States Secretary of Labor,

wherein the Secretary shall pay, as an agent of the United States, Unemployment

Compensation for Federal Employees (“UCFE”) pursuant to 5 U.S.C. § 8502(a). N.J. Stat.

Ann. § 43:21-5.2.

       22. Pursuant to 5 U.S.C. § 8502(b), New Jersey is reimbursed for UCFE payments to

federal employees in the same amount, on the same terms, and subject to the same conditions

which would be payable to them under the New Jersey Unemployment Compensation Law.




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       23. Pursuant to N.J. Stat. Ann. § 43:21-6, an individual in New Jersey who wishes to

collect unemployment insurance benefits must file a claim in accordance with regulations

adopted by the Director of the Division of Unemployment and Temporary Disability Insurance

of the Department of Labor and Workforce Development of the State of New Jersey.

       24. Claimants file claims online or by phone using NJDOL’s system to assert a claim

initially and to provide information to indicate the basis of the claim, the name of the claimant’s

previous employer, the reason for her separation, work experience, and other relevant

information. The claimant is then provided a notice from the Division informing them that the

claim is being processed as well as their expected monetary determination, if wage information

is available to the Division.

       25. The employer is then contacted and asked to furnish a report of the separation from

employment containing the reason for the employee’s separation and, if not already available

to the Division, a report of wage history. N.J. Admin. Code § 12:17-5.5; see also N.J. Admin.

Code § 12:17-3.2.

       26. New Jersey law disqualifies or delays some claimants from receiving benefits

depending on the circumstances of their separation from employment or other factors. See N.J.

Stat. Ann. § 43:21-5. Disqualifying or delaying circumstances include, inter alia, termination

for misconduct, which if confirmed after investigation by NJDOL results in a six-week waiting

period before receiving benefits. Id., see also N.J. Admin. Code §§ 12:17-10.1–10.8.

       27. After a claimant has filed a claim, the claimant may be required to participate in

fact-finding and electronic adjudication to determine eligibility for benefits. N.J. Admin. Code

§ 12:17-4.3(g). Thereafter, a benefit determination notice will be made stating, inter alia, the




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information used to determine monetary eligibility and if he or she is found ineligible or

disqualified for benefits. N.J. Admin. Code § 12:17-4.7.

       28. A claimant may file an appeal within 21 days from the mailing date of the benefit

determination notice. An employer may file for appeal within 7 days of confirmed receipt of

notification of an initial determination. N.J. Stat. Ann § 43:21-6(b)(1). An initial determination

is final unless an appeal is filed, and such appeals may proceed through administrative and

then judicial review. N.J. Admin. Code §§ 1:12-1–18.5.

           Unemployment Benefits Recent Experience and Investigatory Process

       29. As noted above, there has been a significant increase in unemployment claims for

former federal employees received by NJDOL since January 20, 2025 and in particular since

mid-February.

       30. Private sector employers are required to file quarterly wage information via WR-

30 and NJ-927s with NJDOL. However, federal public sector employers are not required to

provide such wage information.

       31. For claims submitted by federal public sector employees, including every UCFE

claim, NJDOL must reach out to the employer to determine wage information and the

employer’s reasons for the dismissal. The federal employer then has 10 days to respond to the

request. Only when the information is received can the benefit amount calculation proceed. If

the information is not received, additional outreach to the claimant is required to obtain pay

stubs and other wage verifying information. As a result, NJDOL must expend more time and

resources to process UCFE claims than regular UI claims.

       32. Furthermore, if there is a dispute between the employer and employee as to the

reason for the termination, or if any reason is provided for the separation other than an



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agreement of lack of work between the employer and claimant, NJDOL’s procedures require

that the claims examiner investigate the reason for discharge.

       33. I understand from public reporting that many probationary workers were notified

that they were being terminated for performance. I therefore anticipate that at least some

federal agencies will maintain the position that the terminated probationary employees were

fired due to poor performance.

       34. NJDOL thus expects that it will have to follow our intensive investigative process

to investigate the reasons for the firings of many probationary employees. While designed to

ensure fairness, the procedures impose a significant strain on NJDOL’s financial and temporal

resources. Each case demands a fact-finding proceeding and necessitates extensive staff hours

for scheduling, conducting phone interviews, reviewing evidence, and drafting detailed

decisions. The need to send notices, accommodate witness testimony, and facilitate cross-

examination further escalates the time commitment. Moreover, the potential for subsequent

appeals triggers a cascade of additional hearings and reviews, diverting resources from other

essential departmental functions.

       35. The cumulative effect of these investigations translates to substantial expenditures

on personnel, administrative overhead, and the technological infrastructure required to manage

the burgeoning caseload, ultimately impacting NJDOL’s budget and hindering its ability to

address other critical labor-related issues.

       36. The same Department staff who handle regular unemployment claims also process

and adjudicate UCFE claims. Redirecting staff from handling regular Unemployment

Insurance (UI) claims to process and adjudicate this sudden influx of resource-intensive UCFE

claims threatens to strain our resources.



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       37. This diversion of personnel will undoubtedly impede the timely processing of

regular UI claims, creating backlogs and delays. The consequences will be far-reaching,

affecting countless individuals who depend on swift resolutions to sustain their livelihoods.

       38. Recent statements of the President and other federal officials have indicated that

the overwhelming majority of recent federal terminations were not for-cause firings, based on

individualized assessments of performance, but instead constitute a Government-wide effort

to shrink the size of the federal workforce, an effective reduction in force.

       39. As a result, it is likely that the overwhelming majority of recently-terminated

federal employees will in fact be eligible for state unemployment benefits, because they were

not terminated for cause.

       40. However, statements in termination letters provided to probationary employees

state such terminations are for-cause and will necessitate extensive and irreparable

investigatory costs and resource expenditures by NJDOL.

           Increased Unemployment Benefits

       41. Finally, New Jersey will also bear increased costs in the form of unemployment

benefits of ex-federal employees. While the federal government is generally required to

reimburse New Jersey for UCFE benefits, New Jersey must pay such benefits in the first

instance, depleting the statewide trust fund that is supported by private employers in the state.

       42. Moreover, the U.S. Secretary of Labor has discretion to reimburse states for

administrative costs required to conduct the state unemployment compensation program. 42

U.S.C. § 502(a). While New Jersey has been and continues to expend additional resources

necessary to address the uptick in federal unemployment claims, it is thus entirely speculative

whether our Department’s costs will be fully reimbursed.



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                   Executed on March 5, 2025, at Trenton, New Jersey.




                   Robert Asaro-Angelo, Commissioner
                   New Jersey Department of Labor & Workforce Development




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